                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                            MDL 2724
PRICING ANTITRUST LITIGATION                              16-MD-2724

                                                          HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                              PRETRIAL ORDER NO. 202
                        (PLAINTIFFS’ STEERING COMMITTEES)

       AND NOW, this 14th day of April 2022, upon consideration of the unopposed Motion to

Amend Pretrial Order No. 6 [MDL Doc. No. 1985], which the Court construes as a Motion to

Amend Pretrial Order Nos. 21 and 42, it is hereby ORDERED that the Motion is GRANTED,

and the law firm of DiCello Levitt Gutzler is substituted as the law firm affiliated with Gregory

Asciolla, Esquire on the End-Payer Plaintiffs’ Steering Committee (“PSC”). As there have been

other amendments over time, the Court sets forth below the current composition of each PSC.

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       As previously ordered, the Court may adjust the size of the PSCs if necessary as the

litigation proceeds. The appointments to the PSCs are of both the attorneys and the law firms.

The Court expects that the leadership will provide opportunities for attorneys not named to the

PSC, particularly less-senior attorneys, to participate meaningfully and efficiently in the MDL,

including through participation in any committees within the PSC and in determining which

counsel will argue any motions before the Court.

       It is so ORDERED.

                                             BY THE COURT:

                                             /s/ Cynthia M. Rufe
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                                             CYNTHIA M. RUFE, J.




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